                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                               Case No. 09-CR-54

BLAKE WILSON
                    Defendant.


                                          ORDER

      On June 15, 2010, I sentenced defendant Blake Wilson to 27 months in prison on his

guilty plea to attempted obstruction of commerce by robbery. He took no appeal but on August

6, 2010, filed a “Motion for Recommendation and Amendment of Judgment.” In the motion,

he seeks amendment of the judgment to include a recommendation for maximum pre-release

custody under 18 U.S.C. § 3624(c). Defendant acknowledges that the Bureau of Prisons

decides such issues but indicates that a recommendation from the court carries some weight.

Defendant’s judgment contains no such recommendation.

      Defendant asserts that the court has jurisdiction to grant his motion, but he cites no

authority in support of the assertion. The district court is generally forbidden to modify a

judgment after the time limits in Fed. R. Crim. P. 35 expire. See Romandine v. United States,

206 F.3d 731, 735 (7th Cir. 2000). Defendant notes that he seeks only an adjustment of the

judgment to reflect a recommendation, not a lowering of his sentence. But rather than

conferring jurisdiction, this instead suggests that there is no case or controversy before me.

See United States v. McHugh, 528 F.3d 538, 540-41 (7th Cir. 2008). The district court may,

in conjunction with the imposition of sentence for a federal crime, make a suggestion to the



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Bureau of Prisons about prison placement, programming, and the like, “but no Article III court

may issue an advisory opinion changing a suggestion that does not affect the sentence.” Id.

at 541.1

       THEREFORE, IT IS ORDERED that the motion (R. 196) is DISMISSED.

       Dated at Milwaukee, Wisconsin, this 21st day of September, 2010.

                                         /s Lynn Adelman
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                                         LYNN ADELMAN
                                         District Judge




       1
       Defendant makes no claim that the written judgment fails to reflect the sentence orally
pronounced or otherwise contains a clerical error, which may be corrected at any time under
Fed. R. Crim. P. 36. Rule 36 does not permit substantive changes to a judgment. See, e.g.,
United States v. Becker, 36 F.3d 708, 710 (7th Cir. 1994).

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